
In re Robert Hilliard; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. C, No. 272-836.
Relator represents that the district court has failed to act timely on an application for post-conviction he submitted on or about March 18, 2013 and a supplemental application for post-conviction he submitted on or about December 9, 2013. If relator’s representation is correct, the district court is ordered to consider and act on the post-conviction application and supplemental post-conviction application. If relator’s representation is incorrect, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
